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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

      MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


YASHICA ROBINSON, M.D.,            )
et al., on behalf of               )
themselves, their                  )
patients, physicians,              )
clinic administrators,             )
and staff,                         )
                                   )
     Plaintiffs,                   )
                                   )          CIVIL ACTION NO.
     v.                            )            2:19cv365-MHT
                                   )                 (WO)
STEVEN MARSHALL, in his            )
official capacity as               )
Alabama Attorney General,          )
et al.,                            )
                                   )
     Defendants.                   )

                        OPINION AND ORDER

    This case challenges the application of the State

Health    Officer’s    “Order     of    the   State    Health     Officer

Suspending    Certain     Public       Gatherings     Due   to    Risk   of

Infection by COVID-19,” published on March 27, 2020, to

abortion    providers     and   clinics.        On    March      30,   this

court entered a temporary restraining order enjoining

enforcement of the March 27 order as to those providers

and clinics, but it promised to reconsider upon the
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submission of the defendants’ written arguments.

       When     the     court       entered         its     initial      temporary

restraining           order,       the     plaintiffs           had    sought       an

immediate         injunction        prohibiting           the    delay       of    any

abortion       in     Alabama--that           is,    they    sought      temporary

relief broad enough to maintain the status quo.                                    The

court, concerned that the March 27 order could be read

to    effect      a    ban    on   abortions         throughout        the    state,

enjoined its enforcement.

       Based on the current record, however, the court now

finds      that       its    initial      temporary         restraining           order

swept too broadly.             At an on-the-record hearing held by

teleconference earlier today, the defendants provided

numerous       clarifications            to    the    March      27    order      that

mitigated the court’s most immediate concerns about the

order.        While         some   postponements          of     abortions        will

undoubtedly occur, the March 27 order, as clarified by

the     Attorney       General’s         Office      during      the   conference

call,      allows      providers,         exercising         their     reasonable



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medical judgment, to protect the right to terminate a

pregnancy and the safety of their patients.                                      But it

also     acknowledges            that     abortion     providers           and    their

patients         must    share       the     societal       burden         caused    by

COVID-19.

       Now before the court are the defendants’ motion to

stay     enforcement          of    the     temporary       restraining           order

pending       appeal         and     their        motion     to       dissolve      the

temporary restraining order.                      For the reasons explained

below, the defendants’ motion to stay will be granted

to the extent that the court adopts as an order the

clarifications described later in this order.                                    As to

the     motion     to    dissolve,          the    parties        agree     that    the

notice      of     appeal        filed      with     the        Eleventh     Circuit

divests this court of jurisdiction over the defendants’

motion      to    dissolve         the     temporary       restraining           order.

See     generally        Green      Leaf     Nursery       v.     E.I.     DuPont    De

Nemours & Co., 341 F.3d 1292, 1309 (11th Cir. 2003)

(“The     filing        of   a     notice    of     appeal       is   an    event    of



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jurisdictional significance--it confers jurisdiction on

the court of appeals and divests the district court of

its control over those aspects of the case involved in

the appeal.” (internal quotation marks and citations

omitted)).       However,     were       the    temporary     restraining

order to be remanded back to this court, the court

would   vacate     it   and      impose        relief   to   the    extent

indicated in today’s order.



                            I.     Background

    In December 2019, a novel coronavirus, which causes

the disease now known as COVID-19, began to spread

quickly around the world.                 See Declaration of State

Health Officer (doc. no. 88-15) at 2 ¶ 2.                    On March 13,

2020,   the    President      of    the    United       States     and   the

Governor of the State of Alabama declared the COVID-19

outbreak both a national and state emergency.                      See id.

at 2-3 ¶¶ 4, 8.




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   Following       these      declarations,         Alabama’s     State

Health Officer issued a series of orders suspending

certain public gatherings.            See State Health Order of

March   19,   2020    (doc.     no.   88-4)    at    2.     The   order

initially     delayed    “all    elective     dental      and   medical

procedures” from March 20 until April 6.                  Id. at 4 ¶¶

6, 9.    At the time, an assistant general counsel for

the Alabama Department of Public Health confirmed to

the plaintiffs’ counsel that the order would not be

applied to their abortion clinics.              See Declaration of

Plaintiffs’ Counsel (doc. no. 73) at 46 ¶ 4.                       As a

result, the plaintiffs continued to perform abortions.

See Declaration of Yashica Robinson, M.D. (doc. no. 73)

at 20 ¶ 37; Declaration of Gloria Gray (doc. no. 73) at

36-37 at ¶¶ 15, 17.

   On March 27, the State Health Officer substantially

revised the order, postponing “all dental, medical, or

surgical procedures,” with two exceptions: (a) those

“necessary to treat an emergency medical condition” and



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(b) those “necessary to avoid serious harm from an

underlying condition or disease, or necessary as part

of a patient’s ongoing and active treatment.”                      State

Health Order of March 27, 2020 (doc. no. 88-1) at 6 ¶ 7

(emphasis added).          The March 27 order expires on April

17 at 5:00 p.m., by which time and date the State

Health    Officer    will    determine      whether    to    extend      or

relax it.      Id. at 6 ¶ 10.           While it is in force, the

defendant Attorney General of Alabama has determined

that a violation of the March 27 order is punishable as

a misdemeanor and subject to a fine.                See Guidance for

Law Enforcement (doc. no. 88-12) at 2.

    On March 30, after the plaintiffs’ counsel were

unable to satisfactorily confirm the applicability of

the March 27 order to abortions, see Declaration of

Plaintiffs’ Counsel (doc. no. 73) at 47-48 ¶¶ 9-14, the

plaintiffs filed a motion for a temporary restraining

order    and   preliminary     injunction,        seeking    to   enjoin

enforcement     of   the    March    27   order    against     abortion



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providers         and    abortion         clinics.           Later    that   day,

during an emergency on-the-record hearing, counsel for

the defendants seemed to suggest in response to the

court’s       attempt          at       clarification        that     the    only

exception for abortions under the March 27 order would

be limited to protecting the life and health of the

mother.       See April 2, 2020 Telephone Conference (doc.

no. 98) at 20 ¶¶ 22-25, 21 ¶ 1, 22 ¶¶ 6-10.                           The court

entered       a   temporary         restraining       order    enjoining      the

application        of        the    March    27   order     against     abortion

providers until April 13, in part based upon such an

understanding.                As    requested,        the    court    gave    the

defendants         48    hours       to     respond    to    the     plaintiffs’

motion for a preliminary injunction and indicated that,

upon     receipt        of    the    defendants’      response,       the    court

would immediately reconsider its decision.                            The court

set     the   motion         for    a     preliminary       injunction      for   a

hearing on April 6, one week before the expiration of

the temporary restraining order.



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       Defendants subsequently clarified in their written

submissions that they “did not mean to suggest that

[protecting the life or health of the mother] are the

only    exceptions”      for     allowing     an    abortion     to       be

performed under the March 27 order.                 Defs.’ Br. (doc.

no. 89) at 26 n.30.        At the same time, the State Health

Officer     explained      in    his     declaration      that     while

“abortions constitute ‘procedures’” under the order and

that “no particular type of ... procedure categorically

fits     within    one     of     the     two      exceptions,”          the

determination of whether an exception applies “should

be made by a doctor using reasonable medical judgment

based     upon     his      or     her      patient’s       individual

circumstances.”        Declaration of State Health Officer

(doc. no. 88-15) at 6 ¶¶ 22-23.

       Along with its brief and evidentiary submissions,

the defendants filed a motion to dissolve the temporary

restraining order late in the day on April 1.                  On April

2, the court set the motion for a hearing the following



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morning at 9:00 a.m.             In the interim, the defendants

filed     a    notice   of     appeal      and       a    motion     to   stay

enforcement of the temporary restraining order pending

appeal.       The court set the motion to stay for the 9:00

a.m. hearing as well.            The hearing has now been held,

and the court is now reconsidering its order in light

of the motion to stay.



                               II. Discussion

    As discussed earlier, when the court entered the

initial temporary restraining order, the plaintiffs had

sought an immediate injunction that would prevent the

order from mandating the postponement of any abortion

in Alabama.        The court, concerned that the March 27

order   could     be    read    to    effect     a       temporary     ban   on

abortions       throughout           the    state,          enjoined         its

enforcement for 14 days.

    Based on the current record, however, the court now

finds   that     its    initial       temporary          restraining      order



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swept too broadly.          At an on-the-record hearing held by

teleconference earlier today, the defendants provided

numerous clarifications to the March 27 order.                              These

clarifications       alleviated         the    court’s         most        serious

concerns     underlying          the   issuance      of        its     temporary

restraining       order.           While      some     postponements           of

abortions will undoubtedly occur, the clarified order

allows providers, exercising their reasonable medical

judgment, to protect their patients’ right to terminate

a pregnancy and the safety of their patients.                              But it

also    recognizes        that     abortion     providers            and    their

patients, like all residents of Alabama, must adapt to

the     exigent     circumstances           caused        by     the        global

pandemic.

       As   the   court    understands         them,      the        defendants’

clarifications provide that:

       (1) In general, for an abortion, “[l]ike any other

procedure, a doctor should examine his or her patient,

consider all circumstances, and determine whether one



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of the[] exceptions [to the March 27 order] applies.

If they do, the procedure can go forward.”                            April 3,

2020 Telephone Conference Rough Draft (R.D.) Transcript

at 46 ¶¶ 13-16; see also Declaration of State Health

Officer (doc. no. 88-15) at 6 ¶ 23 (reasonable medical

judgement standard).

       (2) Specifically,             if        a    healthcare        provider

determines,       on     a   case-by-case          basis   in   his    or   her

reasonable medical judgment, that a patient will lose

her right to lawfully seek an abortion in Alabama based

on the March 27 order’s mandatory delays (that is, that

the patient will not be able to seek an abortion before

the probable postfertilization age of the fetus is 20

weeks or more1), then the abortion may be performed

without delay pursuant to the exceptions in the March

27      order.     See       April        3,       2020    R.D.       Tr.    at



    1. Plaintiffs confirmed that at least 1-2 women
would lose their right to an abortion (based upon the
20-week   limitation  under   Alabama law)  if   their
procedures were delayed until April 18 or later.   See
April 3, 2020 R.D. Tr. at 17 ¶ 1-5.

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32 ¶ 9 - 34 ¶ 8.            The provider may examine his or her

patient as needed to make the necessary determination

regarding     the     age    of    the    fetus.          See   id.   at   39 ¶¶

11-19.

      (3) Further, a healthcare provider may also examine

his or her patient to assess whether or not an abortion

can “be delayed for two weeks in a healthy way” during

the enforcement of the March 27 order, which expires in

two   weeks     on    April       17.         Id.   at     39 ¶ 14     (court’s

question);      see    id.    at    39 ¶ 15-19           (defense     counsel’s

answer).      If a healthcare provider determines, again on

a case-by-case basis in his or her reasonable medical

judgment, that the abortion cannot “be delayed ... in a

healthy way,” id. at 39 ¶ 14, then the abortion may be

performed without delay pursuant to the exceptions in

the March 27 order.

      (4) The    reasonable         medical         judgment     of   abortion

providers will be treated with the same respect and

deference       as     the        judgments          of     other      medical



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providers.    The decisions will not be singled out for

adverse consequences because the services in question

are    abortions     or    abortion-related.               See     id.   at

31 ¶ 24 - 32 ¶ 8.

      If   either       party   disagrees        with      the     court’s

understanding of the defendants’ clarifications, they

are to submit their concerns by 9:00 a.m. on April 6.

Because they were made in coordination with the chief

law   enforcement        officer    of     the   State,      the       court

understands and expects that the clarifications (and

this order codifying them) will be communicated to and

followed     by   law     enforcement       actors      throughout       the

State.

      Finally, the court notes that it will reconsider

this order upon any evidence that, under the auspices

of the March 27 order, investigations are proceeding in

bad faith against abortion providers acting in their

reasonable    medical     judgment,       or   that   they       are   being

singled    out     for    adverse        treatment    by     enforcement



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authorities.        Also, the above analysis depends upon the

limited duration of the March 27 order, which lasts

until April 17.        If the March 27 order is extended, the

court    will      consider      whether      additional        or     different

relief is warranted.              Relatedly, the court’s decision

today is based on the need to maintain the status quo

during the limited period of the temporary restraining

order.       In    other    words,       additional          relief    could    be

warranted should the current crisis last for a longer

period of time.



                                     ***

      For   the     above     reasons,        it   is    ORDERED       that    the

defendants’ motion to stay enforcement of the temporary

restraining        order    (doc.       no.   95)   is       granted     to    the

extent      that     the     court      adopts      as       its      order    the

clarifications agreed upon by the defendants regarding

the     application         of    the     March         27    order     to     the

plaintiffs.         The court does not, and cannot, address



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whether   to    grant     or   deny   the defendants’       motion       to

dissolve the temporary restraining order (doc. no. 87)

since the court no longer has jurisdiction over the

temporary      restraining     order.      However,    as   the   court

notes above, were the temporary restraining order to be

remanded back to this court, the court would vacate it

and impose relief to the extent indicated in today’s

order.

    It    is    further    ORDERED      that   the   hearing    on   the

motion for a preliminary injunction (doc. no. 73) will

proceed on Monday, April 6, 2020, at 10:00 a.m. by

videoconferencing.

    DONE, this the 3rd day of April, 2020.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
